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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

FRANK GIBSON,                       )
            Plaintiff,              )
                                    )               No. 1:12-cv-1229
-v-                                 )
                                    )               HONORABLE PAUL L. MALONEY
CALHOUN COUNTY, JARROD GOODRICH,    )
SCOTT HAMILTON, SCOTT AUSTAD,       )
JEREMY MASTERS, and MIKE ZALESKI,   )
            Defendants.             )
____________________________________)

                                         JUDGMENT

        The Court has reviewed and approved a stipulation by the parties to settle the case. In

exchange for $91,000, Frank Gibson has agreed that the causes of action in the complaint are

DISMISSED WITH PREJUDICE and WITHOUT COSTS.

        As required by Rule 58 of the Federal Rules of Civil Procedure, JUDGMENT enters in favor

of Plaintiff and against Defendants.

        THIS ACTION IS TERMINATED.

        IT IS SO ORDERED.

Date:   April 18, 2014                                     /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           Chief United States District Judge
